






NO. 07-05-0296-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



FEBRUARY 28, 2006


		______________________________



FRANKLIN REYES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 154TH DISTRICT COURT OF LAMB COUNTY;



NO. 3949; HONORABLE FELIX KLEIN, JUDGE


_______________________________



Before QUINN, C.J., and REAVIS and HANCOCK, JJ.

MEMORANDUM OPINION


	Appellant, Franklin Reyes, appeals from a judgment of conviction for the offense of
possession of a controlled substance (cocaine) in an amount of four grams or more but less
than 200 grams, and sentence of 65 years confinement in the Texas Department of
Criminal Justice, Institutional Division.  Overruling appellant's issues, we affirm.

Procedural and Factual Background
			

	On May 31, 2004, at approximately 11:30 p.m., a Littlefield Police officer noticed a
car parked near a closed business.  Upon investigating, the officer determined that the
vehicle was occupied by two individuals.  The driver, Sylvia Martinez Flores, was unable
to produce her driver's license.  Appellant, who was in the front passenger's seat was
asked for his identification.  A check of appellant's identification revealed an outstanding
warrant for appellant's arrest.  The investigating officer arrested appellant and performed
a pat down search incident to the arrest.  During the pat down the officer found $1,134 in
cash in appellant's front pockets.  The officer asked Flores, the owner of the car, for
permission to search the car.  After Flores consented to the search, the officer found two
bags of cocaine under the front passenger's seat.

	By two issues, appellant challenges the legal and factual sufficiency of the evidence
to sustain the finding of guilt.  When both legal and factual sufficiency are challenged by
an appellant, the court must conduct a legal sufficiency review first.  Clewis v. State, 922
S.W.2d 126, 133 (Tex.Crim.App. 1996).  One cannot be convicted of a crime unless it is
shown beyond a reasonable doubt that he committed each element of the alleged offense. 
U.S. Const. amend. XIV; Tex. Code Crim. Proc. Ann. art. 38.03 (Vernon Supp. 2004); Tex.
Pen. Code Ann. § 2.01 (Vernon 2003).  

Standard of Review


Legal Sufficiency
	

	A legal sufficiency review consists of reviewing the evidence in the light most
favorable to the prosecution, to determine whether any rational trier of fact could have
found the essential elements of the crime beyond a reasonable doubt.  Jackson v. Virginia,
443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Burden v. State, 55 S.W.3d 608,
612 (Tex.Crim.App. 2001).  This standard is the same in both direct and circumstantial
evidence cases.  Burden, 55 S.W.3d at 613.  We measure the sufficiency of the evidence
to sustain a conviction against the elements of the offense as defined by a hypothetically
correct jury charge.  Malik v. State, 953 S.W.2d 234, 240 (Tex.Crim.App. 1997).  All the
evidence presented to the jury must be considered, whether properly or improperly
admitted, to assess the factual findings from the jury's perspective.  See Miles v. State, 918
S.W.2d 511, 512 (Tex.Crim.App. 1996).  As an appellate court, we may not sit as a
thirteenth juror, but must uphold the jury's verdict unless it is irrational or unsupported by
more than a "mere modicum" of evidence.  See Moreno v. State, 755 S.W.2d 866, 867
(Tex.Crim.App. 1988).  We resolve inconsistencies in the evidence in favor of the verdict. 
Curry v. State, 30 S.W.3d 394, 406 (Tex.Crim.App. 2000).

	Before determining whether the evidence is sufficient to support appellant's
conviction, we must review the essential elements of the offense the State was required
to prove.  Appellant was charged with possession of cocaine, four grams or more but less
than 200 grams, a second degree felony.  Tex. Health &amp; Safety Code Ann. § 481.115(d)
(Vernon 2003).  To prove unlawful possession of a controlled substance, the State was
required to prove, by direct or circumstantial evidence, that the accused (1) exercised
actual care, custody, control, or management over the substance and (2) knew the matter
he possessed was contraband.  Poindexter v. State, 153 S.W.3d 402, 405 (Tex.Crim.App.
2005).  The evidence must establish the accused's connection with the controlled
substance was more than just fortuitous. Brown v. State, 911 S.W.2d 744, 747
(Tex.Crim.App. 1995).

Factual Sufficiency


	When an appellant challenges the factual sufficiency of his conviction, the reviewing
court must ultimately determine whether, considering all the evidence in a neutral light, the
jury was rationally justified in finding defendant guilty beyond a reasonable doubt.  See
Zuniga v. State, 144 S.W.3d 477, 484 (Tex.Crim.App. 2004).  There are two ways in which
the evidence may be insufficient.  First, when considered by itself, evidence supporting the
verdict may be too weak to support the finding of guilt beyond a reasonable doubt.  Id. 
Second, considering all of the evidence, both for and against the verdict, the contrary
evidence may be so strong that the beyond-a-reasonable-doubt standard could not have
been met.  Id. at 484-85. 

Applicable Law  


	When the accused is not in exclusive possession of the place where contraband is
found or the contraband is not on the accused's person, additional independent facts and
circumstances must affirmatively link him to the contraband.  See Deshong v. State, 625
S.W.2d. 327, 329 (Tex.Crim.App. 1981).   Affirmative links is a shorthand expression of
what must be proven to establish that the accused possessed some kind of contraband
knowingly or intentionally and is used to evaluate the sufficiency of the evidence.  See
Brown, 911 S.W.2d at 747.  The affirmative links rule is a common sense notation designed
to protect innocent bystanders-a parent, child, spouse, roommate, or friend-from
conviction based solely upon his fortuitous proximity to someone else's contraband.  See
Poindexter, 153 S.W.3d at 406.  

	Affirmative links may include, but are not limited to: (1) appellant's presence when
the contraband was found; (2) whether the contraband was in plain view; (3) appellant's
proximity to and accessibility of the contraband; (4) whether appellant was under the
influence of narcotics when arrested; (5) whether appellant possessed other contraband
when arrested; (6) whether appellant made incriminating statements when arrested; (7)
whether appellant attempted to flee; (8) whether appellant made furtive gestures; (9)
whether there was an odor of the contraband present; (10) whether other contraband or
drug paraphernalia was present; (11) whether appellant owned or had the right to possess
the place where the drugs were found; (12) whether the place the drugs were found was
enclosed; (13) the amount of contraband found; (14) whether appellant was the driver of
the automobile in which the contraband was found; and (15) whether appellant possessed
a large amount of cash.  See Taylor v. State, 106 S.W.3d 827, 831 (Tex.App.-Dallas 2003,
no pet.); see also Trejo v. State, 766 S.W.2d 381, 384-85 (Tex.App.-Austin 1989, no pet.). 
It is not the number of factors present that is important, but the logical force of these
factors, individually or collectively, which determines whether the State's evidence links
appellant to the contraband.  See Gilbert v. State, 874 S.W.2d 290, 298 (Tex.App.-Houston
[1st Dist.] 1994, pet. ref'd).

Analysis


	Appellant was neither the owner nor the driver of the vehicle in which the contraband
was found.  He was merely a passenger, therefore, he was not in exclusive possession of
the contraband.  Thus, the State was required to present evidence, direct or circumstantial,
linking appellant to the contraband to establish appellant was guilty of possession.  

	The record evidences that the contraband was located beneath the passenger's
seat, where appellant was seated.   Appellant had two wallets on his person, yet when
appellant was patted down, he had $1,134 in bills stuffed in his front pants pockets.  During
the search of the vehicle, appellant continuously stated that the car was not his.  The
amount of contraband was large and packaged for dealing.  

	Appellant asserts that the lack of paraphernalia, furtive gestures, attempts to flee,
incriminating statements, or other contraband on appellant's person defeat the State's
attempt to establish affirmative links. (1)  However, such an analysis focuses on the number
rather than the logical force of the factors present.  See Gilbert, 874 S.W.2d at 298.  The
State showed that the appellant was present, in close proximity to the contraband, there
was a large amount of contraband packaged for dealing and appellant had a large amount
of cash stuffed in his front pockets.  When all of the evidence is reviewed in the light most
favorable to the verdict, we cannot say that a rational jury could not have found each
element of the offense proven beyond a reasonable doubt.  Jackson, 443 U.S. at 319. 
Accordingly, we overrule appellant's issue on legal insufficiency of the evidence.  

	In considering the evidence referred to above for factual sufficiency, we must also
consider the impact of Flores's testimony.  Flores testified that when she told appellant she
would give him a ride but did not want any drugs in the vehicle, appellant removed two
small baggies of cocaine from his pocket and laid them on the table.  Prior to the car ride
she had observed a number of people coming and going quickly from the residence where
she met appellant, some of whom she knew to use drugs.  Finally, after the arrest of
appellant, Flores readily agreed to allow the officers to search her vehicle.  The jury heard
Flores's testimony and was in a position to judge the credibility of the witness.  We are not
allowed to substitute our judgment for that of the jury.  See Clewis, 922 S.W.2d at 135. 
When the evidence is reviewed in a neutral light, we cannot say that the evidence is so
weak that the jury's verdict was clearly wrong and unjust, nor is the contrary evidence so
strong that the beyond-a-reasonable-doubt standard could not have been met.  Zuniga, 144
S.W.3d 477, 484-85 (Tex.Crim.App. 2004).  Accordingly, appellant's contention regarding
the factual insufficiency of the evidence is also overruled.

	Inasmuch as we have overruled the contentions of appellant, we affirm the trial
court's judgment. 


							Mackey K. Hancock

							        Justice



Do not publish.   


		

1.  Appellant contends that the affirmative links shown by the State do not exclude
every other reasonable hypothesis except for the guilt of the accused.  However, that test
for a circumstantial evidence case was disavowed by the Texas Court of Criminal Appeals
in Geesa v. State, 820 S.W.2d 154 (Tex.Crim.App. 1991).

